                       Case 1:21-cr-00160-TJK Document 5 Filed 02/18/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                       Ryan Ashlock
                                                                     )
                      DOB: XXXXXX                                    )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2020              in the county of                                         in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 371 - Conspiracy;
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
        18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Congress;
        18 U.S.C. §§ 1752(a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or
        Grounds Without Lawful Authority.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                    Kathryn Camiliere, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                           Digitally signed by G. Michael
                                                                                                           Harvey
                                                                                                           Date: 2021.02.18 20:36:12 -05'00'
Date:             02/18/2021
                                                                                                  Judge’s signature
                                                                              G. Michael Harvey, U.S. Magistrate Judge
City and state:                         :DVKLQJWRQ'&
                                                                                               Printed name and title
